    Case: 1:20-cv-04906 Document #: 54 Filed: 03/18/21 Page 1 of 5 PageID #:451




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 JUDITH ALMENDARIZ, Individually and On                Civil Action No.: 1:20-cv-04906
 Behalf of All Others Similarly Situated,
                                                       CLASS ACTION
                                Plaintiff,
                                                       Hon. Joan B. Gottschall
                        v.

 ONESPAN INC., SCOTT CLEMENTS, and
 MARK S. HOYT,

                                Defendants.



             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                      PURSUANT TO FED. R. CIV. P. 41(a)(1)

        PLEASE TAKE NOTICE that Lead Plaintiff Michael Paladino (“Lead Plaintiff”), through

his undersigned counsel of record, hereby voluntarily dismisses the action, without prejudice,

pursuant to Fed. R. Civ. P 41(a)(1), as follows:

        WHEREAS, this action for violations of the Securities Exchange Act of 1934 was filed on

August 20, 2020;

        WHEREAS, Defendants have neither answered nor moved for summary judgment and no

class certification motion has been filed;

        WHEREAS, the action was filed as a putative class action but has not been certified as

such;

        WHEREAS, pursuant to the Court’s Order dated November 16, 2020 (“November 16

Order”), the Court appointed Michael Paladino as Lead Plaintiff and the undersigned plaintiff’s

counsel as Lead Counsel for Lead Plaintiff, pursuant to the Securities Act of 1934, 15 U.S.C. §




                                                   1
    Case: 1:20-cv-04906 Document #: 54 Filed: 03/18/21 Page 2 of 5 PageID #:452




78u-4 et seq., as amended by the Private Securities Litigation Reform Act of 1995 (“PSLRA”).

See ECF No. 32.

       WHEREAS, consistent with the powers vested in them through the November 16 Order

and the PSLRA, in contemplation of filing an amended complaint, Lead Counsel, on behalf of

Lead Plaintiff, conducted an independent investigation of Lead Plaintiffs’ claims, including from

the following sources: (i) OneSpan Inc.’s (“OneSpan” or the “Company”) public filings with the

SEC; (ii) research reports from securities and financial analysts; (iii) Company press releases and

reports; (iv) Company website and marketing materials; (v) news and media reports concerning

the Company and other facts related to this action; (vi) price and volume data for OneSpan

securities; (vii) consultation with retained consultants; (viii) accounts from former OneSpan

employees; and (ix) additional materials and data concerning the Company and industry as

identified herein.

       WHEREAS, having completed the independent investigation, Lead Plaintiff and Lead

Counsel have decided to voluntarily dismiss the Lead Plaintiff’s claims, without prejudice, in lieu

of filing any amended complaint;

       WHEREAS, neither Lead Plaintiff nor Lead Counsel has entered into any agreement with

any Defendant in connection with the voluntary dismissal;

       WHEREAS, neither Lead Plaintiff nor Lead Counsel has received or will receive any

consideration for dismissal;

       WHEREAS, under Federal Rule of Civil Procedure 41(a)(1), Lead Plaintiff is entitled to

dismiss this action on his own initiative:

               Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any applicable
               federal statute, the plaintiff may dismiss an action without a court
               order by filing:
               (i) a notice of dismissal before the opposing party serves either an
               answer or a motion for summary judgment. . . .

                                                2
    Case: 1:20-cv-04906 Document #: 54 Filed: 03/18/21 Page 3 of 5 PageID #:453




        WHEREAS, although this case alleges putative class claims, Federal Rule of Civil

Procedure 23(e) is inapplicable to the instant dismissal does not involve the claims, issues or

defenses of a certified class - or a class proposed to be certified for purposes of settlement. See

e.g., Cooks v. WMC Mortgage Corp., No. 06-535, 2006 WL 2873439, at *1 (S.D. Ill. Oct. 5, 2006)

(“Because no class has been certified in this case, voluntary dismissal in this instance is governed

not by Rule 23 but by Rule 41 of the Federal Rules of Civil Procedure.”);

        WHEREAS, no prejudice to absent putative class members will result from dismissal of

the action because a class has not been certified, the dismissal will not affect their rights, and there

is no imminent statute of limitations or repose deadline.

        WHEREAS, Federal Rule of Civil Procedure 23(e)(1)(B) is inapplicable to the instant

dismissal as none of the absent putative class members would be bound; and

        WHEREAS, no notice need be sent to absent putative class members, because a class has

not been certified, the case is in its infancy, the case has not been widely publicized, and no absent

putative class member will be bound by the voluntary dismissal of Lead Plaintiff’s claims.

        THEREFORE, Lead Plaintiff hereby dismisses the action without prejudice as to Lead

Plaintiff’s individual claims.



Dated: March 17, 2021                           Respectfully submitted,

                                                HAGENS BERMAN SOBOL SHAPIRO LLP

                                                   s/ Reed R. Kathrein
                                                    REED R. KATHREIN

                                                Lucas E. Gilmore (admitted Pro Hac Vice)
                                                Danielle Smith
                                                Wesley A. Wong
                                                715 Hearst Avenue, Suite 202
                                                Berkeley, CA 94710
                                                Telephone: (510) 725-3000
                                                Facsimile: (510) 725-3001
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Case: 1:20-cv-04906 Document #: 54 Filed: 03/18/21 Page 4 of 5 PageID #:454




                                  reed@hbsslaw.com
                                  lucasg@hbsslaw.com
                                  danielles@hbsslaw.com
                                  wesleyw@hbsslaw.com

                                  HAGENS BERMAN SOBOL SHAPIRO LLP
                                  455 N. Cityfront Plaza Drive, Suite 2410
                                  Chicago, IL 60611
                                  Telephone: (708) 628-4949
                                  Facsimile: (708) 628-4950

                                  Steve W. Berman
                                  HAGENS BERMAN SOBOL SHAPIRO LLP
                                  1301 Second Avenue, Suite 2000
                                  Seattle, WA 98101
                                  Telephone: (206) 623-7297
                                  Facsimile: (206) 623-0594

                                  Counsel for Lead Plaintiff




                                     4
    Case: 1:20-cv-04906 Document #: 54 Filed: 03/18/21 Page 5 of 5 PageID #:455




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2021, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the e-mail

addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List, and I

hereby certify that I have mailed a paper copy of the foregoing document via the United States

Postal Service to the non-CM/ECF participants indicated on the Manual Notice List generated by

the CM/ECF system.


                                                              /s/ Reed R. Kathrein
                                                             REED R. KATHREIN




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